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              Exhibit 60
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                   St. Petersburg and Leningrad Region Arbitration
                   Court

                   Claimant: Closed Joint-Stock Company (ZAO)
                   Logos Plus (hereinafter – ZAO Logos Plus or
                   “Buyer”)
                   52 Salova Street, St. Petersburg, 192102

                   Respondent: Limited Liability Company (OOO)
                   Rilend
                   (hereinafter – OOO Rilend or “Respondent”)
                   Address: 13/2 Staropimenovsky Lane, floor 6
                   Moscow 121099

                   Amount of claim: RU 2,235,000
                   State duty: RU 22,675
                   (clause 1.1 of article 333.21 of the Tax Code of the
                   Russian Federation)
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                      Russian Post, Federal State Unitary Enterprise
                      191014, Administration of the Federal Postal Service of
                      Saint Petersburg and Leningrad Oblast, Register 07
                      Register N 19101407
                      Operator N.A. Karpechenko
                      Serial number 3664054
                      Taxpayer Identification Number (INN) 007724261610
                      07/24/2007 [10]:56 document No. 24372
                      Document cost (cash): 15.35

                      Received
                      Internal mail
                      Cost accounting, cash (rubles)
                      Registered letter
                               Receipt No. 14778
                      191014(85)14778 0

                      To: OOO Rilend
                      121099, Moscow, Moscow 99
                      Shipped: GROUND
                      Weight, in grams: 24
                      Sale of stamps: 15.35 rubles
                      With return receipt (4.75 rubles)
                      Claim submission period 6 months
                      SALE                              15.35 rubles
                      00012329 #010100                  ZKLZ 3295820990
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